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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

  ASTRAZENECA LP, ASTRAZENECA
  AB, ASTRAZENECA UK LIMITED, and
  ASTRAZENECA PHARMACEUTICALS LP,

                 Plaintiffs,

         v.                                                   Civil Action No. 15-cv-01000-RGA
                                                              CONSOLIDATED
  SIGMAPHARM LABORATORIES
  LLCET AL.,

                 Defendant.


  ASTRAZENECA LP, ASTRAZENECA
  AB, ASTRAZENECA UK LIMITED, and
  ASTRAZENECA PHARMACEUTICALS LP,

                 Plaintiffs,
                                                              Civil Action No. 16-cv-0338-RGA
         v.                                                   Civil Action No. 15-cv-01002-RGA

  WATSON LABORATORIES, INC.,

                 Defendant.


                                      CONSENT JUDGMENT

         AstraZeneca LP, AstraZeneca AB, AstraZeneca UK Limited, and AstraZeneca

  Pharmaceuticals LP (hereinafter collectively "AstraZeneca"), and Watson Laboratories, Inc.

  (hereinafter "Defendant"), the parties in the above-captioned action ("the Action"), have agreed to

  terms and conditions representing a negotiated settlement of this Action and have set forth those

  terms and conditions in a Settlement Agreement (the "Settlement Agreement"). Now the parties,

  by their respective undersigned attorneys, hereby stipulate and consent to entry of judgment and

  an injunction in this Action as follows:
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                  IT IS this    \':\~    day of March, 2018:

                  ORDERED, ADJUDGED AND DECREED as follows:

         1.      This District Court has jurisdiction over the subject matter of the above Action

  and has personal jurisdiction over the parties.

         2.      As used in this Consent Judgment, (i) the term "Defendant Product" shall mean a

  drug product sold, offered for sale or distributed pursuant to Abbreviated New Drug Application

  No. 208390 (and defined in greater detail in the Settlement Agreement); and (ii) the term

  "Affiliate" shall mean any entity or person that, directly or indirectly through one or more

  intermediaries, controls, is controlled by, or is under common control with Defendant; for

  purposes of this definition, "control" means (a) ownership, directly or through one or more

  intermediaries, of (1) more than fifty percent (50%) of the shares of stock entitled to vote for the

  election of directors, in the case of a corporation, or (2) more than fifty percent (50%) of the

  equity interests in the case of any other type of legal entity or status as a general partner in any

  partnership, or (b) any other arrangement whereby an entity or person has the right to elect a

  majority of the Board of Directors or equivalent governing body of a corporation or other entity

  or the right to direct the management and policies of a corporation or other entity.

         3.      Unless otherwise specifically authorized pursuant to the Settlement Agreement,

  Defendant, and any anyone acting on behalf of Defendant, including any of its Affiliates,

  successors and assigns, is enjoined from infringing the Licensed Patents by making, having

  made, using, selling, offering to sell, importing or distributing of the Defendant Product.
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         4.     Compliance with this Consent Judgment may be enforced by AstraZeneca and its

  successors in interest, or assigns, as permitted by the terms of the Settlement Agreement.

         5.     This District Court retains jurisdiction to enforce or supervise performance under

  this Consent Judgment and the Settlement Agreement.

         6.     All claims, counterclaims, affirmative defenses and demands in this action are

  hereby dismissed with prejudice and without costs, disbursements or attorneys' fees to any party.

         7.     This Stipulated Consent Judgment and Injunction does not impact the U.S. Food

  and Drug Administration's ability to grant final approval of the Defendant Product.


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                                                              The Honora e ichard D. Andrews          I
                                                              United States District Judge


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